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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                                   *

UNITED STATES OF AMERICA                           *

v.                                                 *      CRIMINAL NO. JKB-09-0288
                                                          CRIMINAL NO. JKB-09-0441

GARY KNIGHT                                        *

       Petitioner                                  *

        *      *       *       *       *       *          *     *     *         *      *      *

                                MEMORANDUM AND ORDER


        Now pending before the Court is the Petitioner’s request that his sentence be reduced

pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 782 to the United States Sentencing

Guidelines (ECF No. 1574 in Case No. 09-0288). The Court has carefully reviewed the Motion

and its supporting documents (see ECF Nos. 1575, 1577 in Case No. 09-0288), the

Government’s response (ECF No. 1576 in Case No. 09-0288); and relevant portions of the

extensive record docketed in these cases. The request that the sentence be reduced is DENIED.

       The parties stipulate and the Court agrees that the Defendant is eligible for relief under 18

U.S.C. § 3582(c). However, mere eligibility does not guarantee that relief will be afforded. In

this case, it would be inappropriate. The underlying facts of this case, to which the Petitioner

admitted when he pled guilty, are extreme.                The Petitioner carjacked and choked to

unconsciousness his female victim. She was loaded into the trunk of her automobile and only

escaped when she regained consciousness, activated the trunk release from inside, and tumbled

out onto the street. She suffered injuries as a result.
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       The Court has reflected on all of the factors set out in 18 U.S.C. § 3553(a) before

deciding this motion. It concludes that in this case there is a profound need to protect the public

from the Petitioner, and that the requested lower sentence would not adequately serve that

purpose. Taking into account the important interest of the public in maintaining their safety, a

sentence less than that which the Petitioner is currently serving would not be sufficient.


       DATED this 19th day of October, 2016.


                                                      BY THE COURT:


                                                      ____________/s/______________________
                                                      James K. Bredar
                                                      United States District Judge
